

People v McEachern (2021 NY Slip Op 02882)





People v McEachern


2021 NY Slip Op 02882


Decided on May 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2021

Before: Renwick, J.P., Kapnick, Singh, Kennedy, JJ. 


Ind Nos. 3816/17, 4308/18 Appeal No. 13777-13777A Case No. 2019-04928 

[*1]The People of the State of New York, Respondent,
vLevon McEachern, Defendant-Appellant. 


Center for Appellate Litigation, New York (Robert S. Dean of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (R. Jeannie Campbell-Urban of counsel), for respondent.



Judgments, Supreme Court, New York County (Ellen N. Biben and Laura A. Ward, JJ. at pleas; Michael J. Obus, J. at sentencing), rendered July 8, 2019, convicting defendant of burglary in the second and third degrees, and sentencing him to an aggregate term of 3½ years, with five years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the postrelease supervision component of the sentence to a period of three years, and vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
We find the sentence excessive to the extent indicated.
Based on the People's consent, and pursuant to our own interest of justice
powers, we waive the surcharge and fees imposed at sentencing (see People v Chirinos,
190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2021








